Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 1 of 27 PageID #: 52



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 OUMER SALIM, on behalf of himself                §
     and others similarly situated,               §
                                                  §
            Plaintiff,                            §
                                                  §
 vs.                                              §
                                                  §           Civil Action No: 4:18-cv-00730
 JPAY, INC.,                                      §
                                                  §
            Defendant,                            §
                                                  §

  PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS
   ACTION SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT
       I.       INTRODUCTION

            On April 17, 2018, Plaintiff Oumer Salim (“Plaintiff” or “Settlement Class

 Representative”) and Defendant JPay, Inc., (“Defendant” and together with Plaintiff, the

 “Parties”), reached a settlement (the “Settlement”) during the course of a putative class

 arbitration which seeks to resolve all claims in the above-captioned action (the “Lawsuit”).

 Pursuant to the terms set forth in the Parties’ Class Action Stipulation of Settlement (the

 “Settlement Agreement”) (Exhibit 1 attached hereto), Plaintiff now respectfully asks the Court to

 enter an order, in substantially similar form to Exhibit 2 attached hereto, provisionally certifying

 the Settlement Class (defined below and also referred to as “Class”) for Settlement purposes

 only, preliminarily approving the Settlement, directing that notice of the Settlement be

 disseminated to members of the Settlement Class (“Settlement Class Members” or “Class

 Members”) in the form and manner proposed therein, scheduling a Final Approval Hearing to

 consider whether the Settlement should be finally approved, and staying all further proceedings

 in the Lawsuit.

 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 1
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 2 of 27 PageID #: 53



        Preliminary approval of the proposed Settlement is warranted. Judicial policy favors

 pretrial settlements. Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977) (“Particularly in class

 action suits, there is an overriding public interest in favor of settlement. . . .”); Jones v. Singing

 River Health Services Foundation, 865 F.3d 285, 300 (5th Cir. 2017) (“The quality and

 experience of the lawyering is thus ‘something of a proxy for both ‘trustworthiness’ and

 ‘reasonableness’—that is, if experienced counsel reached this settlement, the court may trust that

 the terms are reasonable . . .”) (citing NEWBERG     ON   CLASS ACTIONS, § 13:53 (5th ed.)); In re

 Deepwater Horizon, 739 F.3d 790, 807 (5th Cir. 2014) (recognizing the overriding public

 interest in favor of settlements in class actions); Turner v. Murphy Oil USA, Inc., 472 F.Supp.2d

 830, 843 (E.D. La. 2007) (“there is a ‘strong judicial policy favoring the resolution of disputes

 through settlement’ and that a presumption is made in favor of the settlement’s fairness, absent

 contrary evidence.”) (quoting Smith v. Crystian, 91 F. App’x 953, 955 (5th Cir. 2004)); Klein v.

 O’Neal, Inc., 705 F.Supp. 2d. 632, 650 (N.D. Tex. 2010) (“Thus courts are to adhere to a strong

 presumption that an arms-length class action settlement is fair . . .”).

        This Settlement is fair. JPay has agreed to issue each Class Member a transferable video

 visitation credit, as well as establish a process through which purchasers can report any future

 issues with video visits to obtain a credit. These valuable benefits squarely address the issues

 raised in the Lawsuit (shortened video visit time) and provide significant relief to the Settlement

 Class Members. In fact, the Settlement provides the Class Members with exactly what they

 allege they have lost, i.e., video visitation time, and provides a method to ensure they do not lose

 it again. Said differently, the transferable video visitation credit therefore makes the Settlement

 Class Members whole. In addition, the transferable nature of the video visitation credit also

 allows Settlement Class Members to sell or gift these credits. The Settlement compares favorably


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 2
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 3 of 27 PageID #: 54



 with settlements in similar litigation and was reached during an arm’s length arbitration.

 Accordingly, Plaintiff respectfully submits that the Court should approve the terms and

 conditions of the Settlement and provide for notice to the Settlement Class.

    II.      OVERVIEW OF PLAINTIFF’S CLAIMS, THE LITIGATION, AND THE
             ARBITRATION

          This Lawsuit was filed as a class action against JPay for breach of express warranty;

 violation of the New York Deceptive Trade Practices Law GBL § 349; breach of contract,

 including covenant of good faith and fair dealing; unjust enrichment; unconscionability; and

 entitlement to injunctive relief. JPay provides Video Visitation services between prison inmates

 and their family members or friends that allow them to place video calls to each other. JPay

 charges for video visitations in 30-minute increments.       This case is based upon consumer

 complaints alleging that Video Visitation sessions did not always last for the full 30-minutes paid

 for by the consumer.

          On December 1, 2015, Plaintiff filed a Demand for Class Arbitration (“Demand”), on his

 own behalf and on behalf of all others similarly situated, with the American Arbitration

 Association (the “AAA”), in AAA Case No. 01-15-0005-8277. After litigation in the Southern

 District of Florida (which included an appeal denied for lack of jurisdiction), a pending and fully

 briefed appeal in the Eleventh Circuit (that has been stayed by party agreement and Court

 approval to facilitate this Settlement process), multiple hearings before the arbitration panel, and

 following the exchange of extensive discovery in the arbitration, the parties entered into the

 Settlement Agreement on or about April 17, 2018. The Arbitration Panel has not yet certified a

 class. Based upon the discovery exchanged and through negotiations of counsel, the parties have

 come to a Settlement Agreement that they believe adequately compensates the Class defined in

 the Settlement Agreement. The Parties have agreed to resolve the claims asserted in the Demand

 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 3
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 4 of 27 PageID #: 55



 in their entirety and have reached a tentative settlement, subject to this Court’s approval. The

 Parties seek Court approval of their Settlement (as opposed to arbitrator approval) in light of the

 uncertainty inherent in an arbitrator’s authority to settle class claims. See e.g., Oxford Health

 Plans LLC v. Sutter, 569 U.S. 564, 574–75, (2013) (Alito, J., concurring) (joined by Justice

 Thomas) (“Accordingly . . . it is difficult to see how an arbitrator’s decision to conduct class

 proceedings could bind absent class members who have not authorized the arbitrator to decide on

 a class wide basis which arbitration procedures are to be used.”).

    III.    THE PROPOSED SETTLEMENT

            a. Proposed Settlement Class

                    i. For the purposes of this Stipulation of Settlement, “Claimant Class”

                       or “Class Member” is defined as the following:          All natural persons

                       who, between December 1, 2009 and the date the Court grants

                       preliminary approval of this Settlement, paid a fee to JPay for a 30-

                       minute Video Visitation session and received less than a 30-minute

                       session, for any reason.    Excluded from the Claimant Class are JPay’s

                       officers, directors, affiliates, legal representatives, employees, successors,

                       subsidiaries, and assigns. Also excluded from the Claimant Class is any

                       judge, justice, judicial officer or arbiter presiding over this matter and

                       the members of their immediate families and judicial staffs.

                   ii. The “Settlement Class” is all members of the Claimant Class who fail to

                       timely and properly opt out of the Settlement provided by this Stipulation

                       of Settlement.




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 4
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 5 of 27 PageID #: 56



                 iii. The “Settlement Period” shall be defined as the period from, and

                     including, December 1, 2009, through the date this Court grants final

                     approval of this Stipulation of Settlement. The Parties request that the

                     Court, in its preliminary approval of this settlement, enjoin members of

                     the Claimant Class from initiating or prosecuting any proceeding on any

                     claim to be released unless and until the members of the Claimant

                     Class have opted out of the class in the manner to be ordered. The

                     Settlement Class is barred from asserting any claims released herein.

          b. Proposed Settlement Terms

              The Settlement provides compensatory relief in the form of Transferrable Video

       Visitation Credit(s). This valuable benefit made available pursuant to the Settlement

       squarely addresses the issues raised in the Lawsuit and provides relief to the Settlement

       Class Members a follows:

                  i. Settlement Relief. Each Class Member, following submission of a timely,

                     sworn to, and proper Claim Form, as set forth below, shall be entitled to

                     one (1) Transferrable Video Visitation Credit. The Transferrable Video

                     Visitation Credit shall expire sixty (60) days after it has been sent out by

                     JPay via electronic mail to the email address JPay has in its record for

                     such Class Member. Further, after final approval of this Stipulation of

                     Settlement, JPay will ensure there is a method for consumers to receive a

                     reasonable credit for additional video visitation time, if in good faith, JPay

                     is notified within twenty-four (24) hours by that consumer of his or her

                     video visit, that, as a result of JPay’s system, he or she did not receive the


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 5
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 6 of 27 PageID #: 57



                   full thirty (30) minute video visitation session they paid for. Once JPay

                   issues this reasonable credit, it will make reasonable commercial efforts to

                   notify the consumer by phone or email that such credit has been issued.

          c. Other Key Provisions

                i. Attorneys’ Fees and Costs: Defendant agreed to pay attorneys’ fees and

                   costs to Class Counsel in the amount of TWO HUNDRED AND

                   TWENTY-THREE           THOUSAND         DOLLARS        ($223,000.00)      to

                   compensate and reimburse Class Counsel for all of the work already

                   performed by Class Counsel in this case and all of the work

                   remaining to be performed by Class Counsel in negotiating and obtaining

                   this Stipulation   of Settlement, securing Court approval of the

                   Settlement, administering the Settlement,        making sure that the

                   Settlement is fairly administered and implemented, and obtaining

                   dismissal of the action.     Defendant has agreed not t o oppose this

                   request.

                ii. Enhancement Awards:       Class Counsel requests that named Plaintiff,

                   Oumer Salim be provided an enhancement award in an amount not to

                   exceed $2,000.00      in   consideration   for   serving    as   a   Class

                   Representative. Defendant has agreed not to oppose this request.

               iii. Claims Administrator: The Parties agree that a Claims Administrator is

                   not necessary for this case because JPay has all of the requisite

                   information for Notice and administration, and Class Counsel can

                   easily oversee the implementation of this Settlement process.


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 6
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 7 of 27 PageID #: 58



          d. Notice to the Claimant Class

                 i. The Parties agree that, within thirty-five (35) business days of the later of

                    (i) preliminary Court approval of the terms and conditions of this

                    Stipulation of Settlement, or (ii) Court approval of the Settlement notice to

                    the Claimant Class, JPay will send via email, to the email addresses on file

                    with JPay, the Court-approved Notice, Claim form, and Request for

                    Exclusion form (“Notice Packet”). The Parties have attached agreed-to

                    versions of these forms to Exhibit 1 (the Parties’ Settlement Agreement).

          e. Claim Process

                 i. The Parties agree that Class Members will have thirty (30) days from

                    the date the Notice Packets are emailed by JPay to postmark or email

                    back to JPay’s Counsel their Claim Forms, Objections,                and/or

                    Requests for Exclusion. The Parties agree that if an email is returned as

                    undeliverable, JPay shall not be required to mail hard copies of any

                    notice forms or otherwise be required to contact the Class Member.

                ii. Procedure for Objections to Settlement. The proposed Notice provides

                    that Class Members who wish to object to the Settlement must file with

                    the Court and serve on Class Counsel and Defendant’s Counsel a written

                    statement objecting to the settlement, no later than thirty (30) days after

                    the Notice is first emailed (the “Objection Deadline Date”). The Parties

                    have proposed and included in the draft Notice that no Class Member

                    shall be entitled to be heard at the Final Approval Hearing (whether

                    individually or through separate counsel) or to object to the Settlement,


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 7
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 8 of 27 PageID #: 59



                   and no written objections or briefs submitted by any Class Member shall

                   be received or considered by the Court at the Final Approval Hearing,

                   unless written notice of the Class Member’s intention to appear at the

                   Final Approval Hearing, and copies of any written objections or briefs,

                   have been filed with the Court, and served on Class Counsel and

                   Defendant’s counsel on or before the Objection Deadline Date. Class

                   Members who fail to file and serve timely written objections in the

                   manner specified above shall be deemed to have waived any objections

                   and shall forever be foreclosed from making any objection (whether by

                   appeal or otherwise) to the settlement, or any aspect of the settlement,

                   including without limitation the fairness, reasonableness, or adequacy

                   of the proposed settlement, or any award of attorneys’ fees          or

                   reimbursement of costs and expenses.

               iii. Procedure for Opt-Outs from Settlement Class. The proposed Notice also

                   provides that Class Members who wish to opt out from the Settlement

                   must submit to JPay and Class Counsel a Request for Exclusion Form.

                   It further provides that such a Request for Exclusion Form must be

                   submitted to JPay and Class Counsel no later than thirty (30) days after

                   the Notice is first emailed (the “Opt-Out Deadline Date”), and that no

                   Class Member shall be deemed to have opted out of the Settlement Class

                   unless such Request for Exclusion Form has been submitted to both

                   JPay and Class Counsel on or before the Opt-Out Deadline Date.

                   Finally, the Notice provides that Class Members who fail to submit


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 8
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 9 of 27 PageID #: 60



                   such Request for Exclusion Forms in the manner specified above shall be

                   deemed to be a member of the Settlement Class and be subject to all

                   terms contained in the court approved Settlement terms.

               iv. Certification of Non-Release of Claim.       The proposed Claim Form

                   includes within it an acknowledgement that the Class Member did not

                   previously enter into an individual (non-class action) Settlement

                   agreement with a general release with JPay. Class Members who

                   previously entered into a signed agreement releasing claims against JPay

                   are ineligible to recover from the Settlement Fund. Pursuant to the

                   Parties’ agreement, Class Members who attest that they are not

                   excluded on these grounds, and otherwise are eligible to recover, will be

                   allowed to recover from the Settlement. The proposed Settlement also

                   provides that:

                      1. within twenty five (25) business days of receipt by JPay of each

                          timely-submitted and sworn to Claim Form, JPay will send a

                          deficiency notice to the Class Members for any irregularities

                          in the completed Claim Form, if applicable. The deficiency notice

                          will provide the Class Members no more than twenty (20) days

                          from the mailing of the deficiency notice to email or postmark a

                          written response to cure all deficiencies (“Deficiency Cure

                          Deadline”). The failure of a Class Member to timely submit a

                          Claim Form under penalty of perjury, or timely submit a

                          response to any deficiency notice, shall invalidate a claim and will


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 9
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 10 of 27 PageID #: 61



                         not be considered deficiencies subject to cure, unless counsel for

                         both parties stipulate to allow cure.

                      2. All original Claim Forms shall be emailed or mailed directly

                         to JPay at the addresses indicated on the Claim Form.

                      3. Within thirty (30) business days after the Objection Deadline

                         Date or the last Deficiency Cure Deadline (whichever is later),

                         JPay will certify to Class Counsel which claims were timely

                         filed, which Class Members opted out, and which Class Members

                         will be included in the Settlement Class and issued a Transferable

                         Video Visitation Credit (“Report Deadline”).

                      4. Any Class Member who does not timely submit a Claim

                         Form or Request for Exclusion Form, or timely cure a

                         deficiency, shall be included in the Settlement Class, but shall

                         not be entitled to any further relief.

                      5. Within forty-five (45) business days of final approval of the

                         Settlement from the Court, JPay shall be responsible for issuing

                         the Transferable Video Visitation Credit via email to the

                         Settlement Class with instructions on how to redeem and/or

                         transfer the Transferable Video          Visitation Credit.   This

                         communication will be through the email account associated

                         with the Settlement Class Member’s JPay account. The parties

                         agree that it is the Settlement Class Member’s duty to keep

                         their email account updated with JPay.         Consequently, if an


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 10
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 11 of 27 PageID #: 62



                               email is returned as undeliverable, JPay shall not be required to

                               mail hard copies notifying the Settlement Class Member of the

                               Transferable Video Visitation Credit or otherwise be required to

                               contact the Settlement Class Member.

                    v. JPay retains the right, in the exercise of its sole discretion, to nullify the

                        Settlement within thirty (30) days of expiration of the Opt-Out Deadline

                        Date, if ten percent (10%) or more of the Class Members opt out of

                        the Settlement.   All signatories to this Stipulation of Settlement and

                        their counsel agree that they will not encourage opt-outs, directly or

                        indirectly, through any means. Objective statements to Class Members

                        who call Class Counsel with inquiries regarding the Settlement shall

                        not be deemed in violation of the prohibitions contained herein. In the

                        event of such a rescission, the Parties agree that no party may use the

                        fact that the Parties agree to settle this case as evidence of JPay’s

                        liability in this Lawsuit or the lack thereof or for any other purpose,

                        including but not limited to, in support of class treatment.

                   vi. If Defendant elects to nullify the Settlement pursuant to the forgoing

                        paragraph, the Parties agree that they will return to the status quo before

                        the filing of the case pending before this Court.

    IV.      THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

             a. Applicable Legal Standard for Approval of a Settlement

          Rule 23(e) of the Federal Rules of Civil Procedure requires judicial approval of the

 compromise of claims brought on a class basis. Approval of a class action settlement involves a


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 11
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 12 of 27 PageID #: 63



 two-step process. At the first stage, the parties submit the proposed terms of settlement to the

 court for a preliminary fairness evaluation. See FED. R. CIV. P. 23(c)(3),(e)(1),(e)(5), see also

 Manual for Complex Litigation, § 21.632 (4th ed. 2004) (hereinafter “MCL 4th”); 4 Alba Conte

 & Herbert Newberg, NEWBERG ON CLASS ACTIONS § 11:25, at 38-39 (4th ed. 2002) (hereinafter

 “NEWBERG      ON   CLASS ACTIONS”) (endorsing two-step process). If the proposed settlement is

 preliminarily acceptable, the court then directs that notice be provided to all class members who

 would be bound by the proposed settlement in order to afford them an opportunity to be heard,

 object to, or opt out of the settlement. At the second stage, after class members are notified of

 the settlement, the court holds a final approval hearing. 1 Id.

          At this time, Plaintiff requests only that this Court grant preliminary approval. A court’s

 review of preliminary approval is less stringent than during final approval. See McNamara v.

 Bre-X Minerals Ltd., 214 F.R.D. 424, 427-30 (E.D. Tex. 2002); MCL 4th § 21.63 (2004) (“At

 the stage of preliminary approval, the questions are simpler, and the court is not expected to, and

 probably should not, engage in analysis as rigorous as is appropriate for final approval.”) At the

 preliminary approval stage, there need not be a definitive adjudication on the fairness of the

 proposed settlement; rather, the “preliminary fairness evaluation is at most a determination that

 there is what might be termed ‘probable cause’ to submit the proposal to class members and hold

 a full-scale hearing as to its fairness.” Del Carmen v. R.A. Rogers, Inc., 2018 WL 4701824, *6

 (W.D. Tex. April 25, 2018) adopted, 2018 WL 4688774 (W.D. Tex. June 13, 2018); McNamara,


 1
   The fairness, reasonableness, and adequacy of the settlement are assessed in the second step of the process at a
 final hearing, after settlement class members have had an opportunity to opt out from or object to the settlement. In
 the Fifth Circuit, the factors considered for final approval of a class settlement include: (1) whether the settlement
 was a product of fraud or collusion; (2) the complexity, expense and likely duration of the litigation; (3) the stage of
 the proceedings and the amount of discovery completed; (4) the factual and legal obstacles to prevailing on the
 merits; (5) the possible range of recovery and certainty of establishing damages; and (6) the respective opinions of
 the participants, including class counsel, class representative, and the absent class members. See Reed v. Gen.
 Motors Corp., 703 F.2d 170, 172 (5th Cir. 1983).

 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 12
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 13 of 27 PageID #: 64



 214 F.R.D at 427-28 (distinguishing between the level of scrutiny required during the

 preliminary approval and final approval stage); DeHoyos v. Allstate Corp., 2006 WL 2329417

 (W.D. Tex. June 2, 2006) (granting preliminary approval of class settlement subject to further

 probing consideration at a final fairness hearing).

        In determining whether preliminary approval is warranted, the sole issue before the Court

 is whether the proposed settlement discloses grounds to doubt its fairness or other obvious

 deficiencies such as unduly preferential treatment of class representatives or segments of the

 class, or excessive compensation of attorneys, and whether it appears to fall within the range of

 possible approval. McNamara, 214 F.R.D at 430; In re Pool Prods. Distrib. Mkt. Antitrust Litig.,

 310 F.R.D. 300, 314-315 (E.D. La. 2015) (“If the proposed settlement discloses no reason to

 doubt its fairness, has no obvious deficiencies, does not improperly grant preferential treatment .

 . . does not grant excessive compensation to attorneys, and appears to fall within the range of

 possible approval, the court should grant preliminary approval.”) (citations omitted); see also

 MCL 4th § 21.633.

        Here, as explained below, there are no grounds to doubt the fairness of the proposed

 Settlement, and Plaintiff, without opposition from Defendant, respectfully requests that this

 Court preliminarily approve the proposed Settlement.

            b. The Proposed Settlement Satisfies the Standards for Preliminary Approval

        Here, the proposed Settlement easily warrants preliminary approval. The Settlement is

 the result of arm’s-length negotiations between experienced counsel after discovery was

 exchanged between the parties.          The recovery equitably and substantially compensates

 Settlement Class Members for the losses incurred, particularly when weighed against the risks,

 uncertainties, and delays of further litigation.


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 13
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 14 of 27 PageID #: 65



        The Settlement resulted from arm’s length negotiations between experienced counsel

 with an understanding of the strengths and weaknesses of their respective positions in this

 Lawsuit after a discovery period in arbitration. These circumstances weigh in favor of approval

 whether a settlement arises from arm’s length negotiations is a key factor in deciding whether to

 grant preliminary approval. McNamara, 214 F.R.D at 430-31 (preliminary approval warranted

 where settlement was the result of substantial negotiation between counsel who were

 experienced and familiar with the factual and legal issues of the case); Lane v. Campus Federal

 Credit Union, 2017 WL 3719976, *7 (M.D. La. May 16, 2017) (recognizing the fairness of

 proposed settlement where settlement was negotiated at arm’s length between experienced

 counsel and noting that the judgment of competent counsel should be given significant weight);

 see also NEWBERG     ON   CLASS ACTIONS § 11:41 (noting that courts usually adopt “an initial

 presumption of fairness when a proposed class settlement, which was negotiated at arm’s length

 by counsel for the class, is presented for court approval”). Such is the case here.

        The Parties in this case have engaged in over two years of arbitration proceedings

 through the AAA, years of litigation before the federal courts in Florida that included two

 appearances before the Eleventh Circuit. The Parties negotiated this Settlement before all the

 legal issues in the federal courts have been settled, but after the exchange of much discovery in

 the arbitration proceeding where substantial documentation regarding the claims in this case

 were exchanged. See In re 2014 Radioshack ERISA Litig., 2016 WL 6561597, *2 (N.D. Tex.

 January 25, 2016) (preliminary approval warranted when settlement was reached after counsel

 conducted appropriate investigation and discovery regarding merits of plaintiffs’ claims).

 Proposed Class Counsel who has approved the Settlement Agreement is experienced and

 respected class action litigators. The Parties spent significant time negotiating the terms of the


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 14
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 15 of 27 PageID #: 66



 final written Settlement Agreement which is now presented to the Court for approval. At all

 times, these negotiations were at arm’s length and, while courteous and professional, the

 negotiations were intense and hard-fought on all sides.

        Proposed Class Counsel’s work crystallized the relevant facts and issues in the case,

 enabled Class Counsel to effectively value the Parties’ respective positions in the Lawsuit, and

 verified the fairness, adequacy, and reasonableness of the Settlement. The significant legal

 challenges for each side, should the litigation continue, support preliminary approval of the

 proposed Settlement. Further, the Settlement avoids the time, expense, and delay inherent in

 continued litigation. Accordingly, these factors also favor preliminary approval.

        Further, the benefits provided by this Settlement accurately compensate for the losses

 suffered by Settlement Class Members. The Transferrable Video Visitation credits offered under

 the Settlement are targeted, valuable, in-kind compensation that directly addresses the losses

 suffered. Additionally, the Settlement provides that JPay will implement a procedure to report

 future instances of inappropriately shortened Video Visitation sessions and receive a reasonable

 credit for additional time. Proposed Class Counsel does not expect to encounter a high degree of

 opposition to the Settlement because of the tailored nature of the compensation offered.

        In contrast, if the Lawsuit were to continue, Plaintiff and the Settlement Class would face

 a number of difficult challenges, including surviving a motion to dismiss, obtaining class

 certification, and maintaining certification through trial and likely motions for summary

 judgment. Furthermore, the pending appeal and related federal court litigation represents an

 existential threat to the continued viability of the arbitration claims. Thus, absent a Settlement,

 Plaintiff faces serious obstacles in this Lawsuit. This is another indication that the proposed

 Settlement is fair, reasonable, and adequate and should be approved. See Shaw v. Toshiba Am.


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 15
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 16 of 27 PageID #: 67



 Information Sys., Inc., 91 F.Supp. 2d 942, 959 (E.D. Tex. 2000) (approval of Settlement

 warranted in light of the uncertainty concerning the litigation’s outcome and to avoid wasteful

 litigation and expense) (citing In re Corrugated Container Antitrust Litig., 643 F.2d 195, 212

 (5th Cir. 1981)); DeHoyos v. Allstate Corp., 240 F.R.D. 269, 290 (W.D. Tex. 2007) (settlement

 approval was appropriate where plaintiffs faced significant challenges on the merits as well as

 obtaining class certification outside of the settlement context).

          Consequently, the Court should grant preliminary approval of the Settlement.

            c. The Court Should Provisionally Certify the Settlement Class

        Class actions certified in conjunction with settlements are well recognized. See Del

 Carmen, 2018 WL 4701824, *2 (stating that at the preliminary approval stage, “courts must

 peruse the proposed compromise to ratify both the propriety of certification and the fairness of

 settlement.”); In re Pool Products Distrib. Mrkt. Antitrust Litig., 310 F.R.D. 300 (E.D. La. 2015)

 (noting that parties stipulated to certification of a settlement class when moving for preliminary

 approval of settlement). The Court must consider whether the Settlement Class proposed is

 appropriate under FED. R. CIV. P. 23. See Amchem Prods. v. Windsor, 521 U.S. 591, 620 (1997);

 Lane, 2017 WL 3719976, *3 (“The certification requirements of Rule 23 generally apply when

 certification is for Settlement purposes.”). The Manual for Complex Litigation (Fourth) advises

 that in cases presented for both preliminary approval and class certification, the “judge should

 make a preliminary determination that the proposed class satisfies the criteria set out in

 Rule 23(a) and at least one of the subsections of Rule 23(b).” MCL 4th, § 21.632.

        Under Rule 23, Plaintiff must demonstrate that: (1) the class is so numerous that joinder

  of all members is impracticable; (2) there are questions of law or fact common to the class; (3)

  the claims or defenses of the representative parties are typical of the claims or defense of the


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 16
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 17 of 27 PageID #: 68



  class; and (4) the representative parties will fairly and adequately protect the interests of the

  class. While courts must conduct a “rigorous analysis” to determine whether the elements of

  Rule 23 have been satisfied, Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011), Rule 23 is

  not a “license to engage in free-ranging merits inquiries at the class certification stage.” Amgen

  Inc. v. Conn. Ret. Plans and Trust Funds, 568 U.S. 455, 465-66 (2013). Further, when a court

  is “[c]onfronted with a request for settlement-only class certification, a district court need not

  inquire whether the case, if tried, would present intractable management problems . . . for the

  proposal is that there be no trial.” Amchem, 521 U.S. at 620. FED. R. CIV. P. Rule 23(b)(3)

  requires that “questions of law or fact common to class members predominate over any

  questions affecting only individual members, and that a class action is superior to other

  available methods for fairly and efficiently adjudicating the controversy.” FED. R. CIV. P.

  23(b)(3).   Under the rigorous analysis standard, the Settlement easily meets each of the

  requirements of Rule 23(a) and Rule 23(b)(3) for the proposed Settlement Class.

                    i. The Class is Sufficiently Numerous

        Rule 23(a)(1) requires that a class be “so numerous that their joinder before the Court

 would be impracticable.” Del Carmen, 2018 WL 4701824, *2; Shaw, 91 F.Supp. 2d at 954 (“It

 need not be impossible to join all class members, only difficult and inconvenient to do so.”) In

 the Fifth Circuit, an excess of 150 class members “generally satisfies the numerosity

 requirement.” Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 624 (5th Cir. 1999) The

 numerosity requirement is easily met here because, according to JPay’s records, the Class

 consists of thousands of persons. Class Members are also dispersed throughout the United

 States. Zeidman v. J. Ray. McDermott & Co., 651 F.2d 1030, 1038 (5th Cir. 1981) (“[T]he

 geographic dispersion of the class” should also be considered) (noting difficulty in joining class


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 17
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 18 of 27 PageID #: 69



 members who reside in multiple states). Additionally, due to the small monetary value of each

 individual claim, it is exceedingly unlikely that class members would be able to prosecute

 individual lawsuits. Id. There can be no dispute, therefore, that the proposed Class meets the

 numerosity requirement.

                    ii. Common Questions of Law or Fact Exist

        Rule 23(a)(2) requires a showing of the existence of “questions of law or fact common to

 the class.” A finding of commonality “is not demanding” and does not require that all class

 members share identical claims. Shaw, 91 F.Supp.2d at 954; DeHoyos, 240 F.RD. at 280

 (finding commonality satisfied where “class members are allegedly affected by a defendant’s

 general policy and the general policy . . . is the crux or focus of the litigation.”). Indeed, the

 commonality element requires only that “there is at least one issue, the resolution of which will

 affect all or a significant number of the putative class members.” Id. (citing Mullen, 186 F.3d at

 625)). Applying these principles, it is evident that the commonality requirement of Rule 23(a)(2)

 is easily met in this case. Here, the central issues posed by this Litigation are: (1) whether

 Defendant provided less than thirty (30) minutes of video time for each thirty (30) minute

 session paid for by Plaintiff and Class Members; (2) whether Defendant breached various duties

 owed to Plaintiff and Class Members; and (3) whether Plaintiff and Class Members were injured

 by Defendant’s actions. These are common questions with common proof that can be answered

 on a Class-wide basis. Given the presence of these common questions central to the Litigation,

 Rule 23(a)(2)’s requirements for the existence of common questions of fact or law are met.

                   iii. Plaintiff’s Claims are Typical of Those of the Settlement Class

        Rule 23(a)(3) requires that the class representatives’ claims be “typical of the claims . . .

 of the class.” Typicality is generally satisfied when the “named plaintiffs’ claims for relief arise


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 18
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 19 of 27 PageID #: 70



 from the same common nucleus of operative facts as the claims of the absent class members.”

 See Mullen, 186 F.3d at 625. Typicality “in the settlement context requires proof that the

 interests of the class representatives and the class are commonly held for purposes of receiving

 similar or overlapping benefits from a settlement.” DeHoyos, 240 F.RD. at 281. “The typicality

 criterion focuses on whether there exists a relationship between the plaintiff’s claims and the

 claims alleged on behalf of the class.” NEWBERG ON CLASS ACTIONS § 3:13. In the case at bar,

 Plaintiff has claims not only similar, but virtually identical, to members of the Settlement Class.

 Indeed, Plaintiff’s claims and each of the Class Members’ claims are predicated on the same

 alleged conduct by JPay – delivering less than the full thirty (30) minute Video Visitation

 sessions paid for by Plaintiff and Class Members. Plaintiff purchased thirty (30) minute Video

 Visitation sessions from JPay in order to communicate with an incarcerated individual. Those

 sessions did not last the full thirty (30) minutes. JPay’s liability for the shortened sessions and

 the resulting damage to each Settlement Class Member does not depend on the individualized

 circumstances of Class Members. Rather, Plaintiff’s Complaint alleges that JPay’s conduct

 related to failure to deliver Video Visitation sessions as promised was unlawful and gives rise to

 liability as to all persons who, like Plaintiff, had their sessions shortened. In order to prevail,

 therefore, Plaintiff and each Class Member will be required to make the same factual

 presentation and legal argument with respect to the common questions of liability.

        The common issues necessarily share “the same degree of certainty” to Plaintiff’s claims,

 such that, in litigating the liability issues, Plaintiff reasonably can be expected to advance the

 interests of all Class Members in a favorable determination with respect to each such issue.

 Dukes, 564 U.S. 338 at 389 n.5 (noting that the typicality requirement serves to ensure the




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 19
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 20 of 27 PageID #: 71



 Plaintiffs’ claims and class claims “are so interrelated that the interests of the class members will

 be fairly and adequately protected in their absence.”).

        Accordingly, the typicality requirement is satisfied.

                   iv. Plaintiff Will Adequately Protect the Interests of the Settlement Class

        Rule 23(a)(4)’s adequacy prong requires that “the representative parties will fairly and

 adequately protect the interests of the class.” The Fifth Circuit consistently has ruled that

 adequate representation depends on two factors:

        (a)     the Plaintiff’s attorney must be qualified, experienced and generally able to
                conduct the proposed litigation; and

        (b)     the Plaintiff must not have interests antagonistic to those of the class.

 See Mullen, 186 F.3d at 625-26; Langebecker v. Electrictronic Data Sys. Corp., 476 F.3d 299

 (5th Cir. 2007); Berger v. Compaq Computer Corp., 257 F.3d 475, 479-80 (5th Cir. 2001);

 Jenkins v. Raymark Indus., Inc., 109 F.R.D. 269, 273 (E.D. Tex. 1985), aff’d 782 F.2d 468 (5th

 Cir. 1986). These two components are designed to ensure that class members’ interests are fully

 pursued.

                            1. The Class Has Been More Than Adequately Represented by
                               Proposed Class Counsel.

        Plaintiff has selected and retained as counsel for the Settlement Class, Bruce W. Steckler

 and R. Dean Gresham of Steckler Gresham Cochran PLLC (collectively, “Proposed Class

 Counsel”). This firm and these attorneys possess extensive experience prosecuting class actions,

 particularly consumer protection cases, throughout the nation. Proposed Class Counsel and their

 firm are greatly experienced in litigating and resolving consumer class actions and have

 developed a strong understanding of the strengths and weaknesses present in such cases and what

 type of Settlement might be fair, reasonable, and adequate under the circumstances.


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 20
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 21 of 27 PageID #: 72



        Proposed Class Counsel thoroughly investigated and analyzed the facts and

 circumstances relevant to the claims brought by Plaintiff in this case. The Parties exchanged a

 substantial amount of information through the arbitration discovery process. Defendant was

 forthcoming with information related to the Video Visitations. The information shared through

 this process provided a sound basis that allowed the Parties to weigh the terms of the Settlement

 against the risks of continued litigation. In addition, the terms of the Settlement are favorable to

 the Class and meet the demands in the live demand for arbitration.

                    v. The Class Representative’s Interests Are Not Antagonistic to Those of the
                       Class

        There is nothing to suggest that Plaintiff has interests antagonistic to those of the

 Settlement Class. See In re Corrugated Container Antitrust Litig., 643 F.2d at 208 (finding a

 sufficient alignment of interests between plaintiffs and the class exists where all “are united in

 asserting a common right, such as achieving the maximum possible recovery for the class.”).

 Here, Plaintiff and the Settlement Class are equally interested in proving the case as alleged in

 Plaintiff’s Original Demand for Class Arbitration and desire the same outcome in this Lawsuit,

 namely to retrieve the best possible relief from the Defendant.         Indeed, Plaintiff’s claims

 coincide identically with the claims of the Settlement Class. Because of this, Plaintiff has

 vigorously prosecuted this case for the benefit of all members of the Settlement Class. There is

 no conflict or any antagonism between Plaintiff and the Settlement Class. Accordingly, Plaintiff

 has the ability and incentive to represent the claims of the Settlement Class vigorously.

        Having demonstrated that each of the requirements of Rule 23(a) are satisfied, Plaintiff

 now turns to consideration of the factors which justify class treatment under Rule 23(b)(3).




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 21
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 22 of 27 PageID #: 73



                   vi. The Settlement Class Satisfies the Predominance and Superiority
                       Requirements of Rule 23(b)(3)

        Certification is appropriate under Rule 23(b) when common questions of law or fact

 predominate over any individual questions and a class action is superior to other available means

 of adjudication. Amchem, 521 U.S. at 591-94. These requirements are satisfied in this case.

                           1. Common Questions of Law or Fact Predominate

        Under Rule 23(b)(3), class certification is appropriate if “the court finds that the

 questions of law or fact common to the members of the class predominate over any questions

 affecting only individual members, and that a class action is superior to other available methods

 for the fair and efficient adjudication of the controversy.” FED. R. CIV. P. 23(b)(3). In analyzing

 the predominance factor, the Supreme Court has defined this inquiry as establishing “whether

 proposed classes are sufficiently cohesive to warrant adjudication by representation.” Amchem,

 521 U.S. at 622. This is satisfied for settlement purposes when “common questions represent a

 significant aspect of a case and . . . can be resolved for all settlement class members in a single

 judgment.” See Del Carmen, 2018 WL 4701824, *4.

        Common questions represent a significant aspect of this case. Several case-dispositive

 questions could be resolved identically for all members of the Settlement Class, such as whether

 Defendant had a duty to deliver the full thirty (30) minutes of Video Visitation, whether

 Defendant breached that duty by failing to deliver the full thirty (30) minutes, and whether and to

 what extent that failure was intentional. The Settlement Class Members’ claims for

 compensatory relief are founded upon common legal theories. Thus, Class Members have an

 interest in adjudication of the issue of law and fact that predominates this litigation.

 Accordingly, this prong of Rule 23(b)(3) is satisfied.



 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 22
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 23 of 27 PageID #: 74



                           2. A Class Action is the Superior Method of Adjudicating This Case

         The second prong of Rule 23(b) is satisfied by the proposed Settlement. As explained in

 Amchem, when “[c]onfronted with a request for settlement-only class certification, a district

 court need not inquire whether the case, if tried, would present intractable management problems

 . . . for the proposal is that there be no trial.” Amchem, 521 U.S. at 620 (citing FED. R. CIV. P.

 23(b)(3)(D)).   Thus, any manageability problems that may have existed in this case are

 eliminated by the proposed Settlement. In addition, the Settlement Agreement renders this class

 action superior to other potential avenues of recovery for Plaintiff and the Class. In fact, this

 case presents a paradigmatic example of a dispute resolution that effectuates the fundamental

 goals of Rule 23: (1) to promote judicial economy through the efficient resolution of multiple

 claims in a single action; and (2) to provide persons with smaller claims, who would otherwise

 be economically precluded from doing so, the opportunity to assert their rights. See Wright,

 Miller & Kane, Federal Practice & Procedure: Civil 2d § 1754. At the same time, the Settlement

 fully preserves the due process rights of each member of the class seeking damages.

 Accordingly, Plaintiff respectfully requests that the Court provisionally certify the Settlement

 Class for settlement purposes.

    V.      THE PROPOSED NOTICE IS THE BEST NOTICE PRACTICABLE

         After preliminary approval, Rule 23(e) requires the Court to “direct notice in a reasonable

 manner to all class members who would be bound by the proposal.” The U.S. Supreme Court

 has held that notice of a class action settlement must be “reasonably calculated, under all the

 circumstances, to apprise interested parties of the pendency of the action and afford them an

 opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S.

 306, 314 (1950); see also McNamara, 214 F.R.D at 427-28 (“The notice must contain an


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 23
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 24 of 27 PageID #: 75



 adequate description of the proceedings written in objective, neutral terms that, insofar as

 possible, may be understood by the average absentee class member.”) (citing In re Nissan Motor

 Corp. Antitrust Litig., 552 F.2d 1088, 1103 (5th Cir. 1977)).

          The Notice Program in the Settlement Agreement is the best notice practicable under the

 circumstances as required under Rule 23(c)(2)(B). The Settlement contemplates providing direct

 notice, along with a Claim Form and Request for Exclusion Form, to the Settlement Class via

 email, using the email addresses on file with JPay. See Exhibits C and D to the Settlement

 Agreement.     Further, the contents of the Notice advises Settlement Class Members of the

 essential terms of the Settlement, the rights of Settlement Class Members to share in the

 recovery, the rights of Settlement Class Members to request exclusion from the Class or to object

 to the Settlement, and will provide specifics on the date, time and place of the final approval

 hearing. Thus, the Notice provides the necessary information for Settlement Class Members to

 make an informed decision regarding the proposed Settlement. DeHoyos, 240 F.R.D. 269, 298-

 99 (finding proposed notice appropriate where notice provided “sufficient information to allow

 individuals to determine whether or not they are class members and to evaluate the benefits of

 the settlement” such that members “with adverse viewpoints [can] come forward and be heard.”).

 The notice also contains information regarding Proposed Class Counsel’s fee application and

 Class Representatives’ service awards. Thus, the form and manner of notice proposed under the

 Settlement fulfill all the requirements of Rule 23 and due process. Accordingly, the Court

 should approve the proposed form and manner of notice.

    VI.      PROPOSED SCHEDULE

          In connection with the preliminary approval of the Settlement, Plaintiff asks the Court to

 set a date for the Final Approval Hearing, dates for filing papers relating to final approval and


 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 24
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 25 of 27 PageID #: 76



 attorneys’ fees, dates for sending notice to the Settlement Class, and deadlines for any requests

 for exclusion or objections. Plaintiff proposes the following schedule as set forth in the

 Settlement Agreement and proposed Preliminary Approval Order:

 Event                                        Time for Compliance
 Notice Date                                  Thirty-five (35) business days of the later of (i)
                                              preliminary court approval of the terms and
                                              conditions of the Settlement, or (ii) court
                                              approval of the settlement notice to the
                                              Claimant Class
 Exclusion Deadline                           Thirty (30) days from the date the Notice
                                              Packets are emailed
 Objection Deadline                           Thirty (30) days from the date the Notice
                                              Packets are emailed
 Claims Deadline                              Thirty (30) days from the date the Notice
                                              Packets are emailed
 Deficiency Notice Deadline                   Twenty-five (25) business days from the date
                                              of receipt by JPay of each timely-submitted
                                              and sworn to Claim Form
 Deficiency Cure Deadline                     Twenty (20) days from the mailing of the
                                              deficiency notice
 Report Deadline                              The later of thirty (30) business days after the
                                              Objection Deadline Date or the last Deficiency
                                              Cure Deadline
 Deadline for Class Counsel’s Application for Thirty (30) days before the Final Approval
 Attorneys’ Fees and Service Awards for Hearing
 Settlement Class Representatives

 Deadline for Motion in Support of Final Thirty (30) days before the Final Approval
 Approval of Settlement                  Hearing

 Final Approval Hearing                           No earlier than 180 days after entry of the
                                                  Preliminary Approval Order

 Deadline to Deliver Transferable Video Forty-five (45) business days after final
 Visitation Credits to Settlement Class via approval of the settlement
 Email




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 25
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 26 of 27 PageID #: 77



    VII.    CONCLUSION

        For the foregoing reasons, the Court should enter an order (i) provisionally certifying the

 proposed Settlement Class; (ii) appointing Plaintiff as Settlement Class Representatives of the

 Settlement Class; (iii) appointing Bruce W. Steckler and R. Dean Gresham of Steckler Gresham

 Cochran PLLC as “Class Counsel” for the Settlement Class; (iv) preliminarily approving the

 Settlement of this action; (v) approving the timing, form, content, and manner of the giving of

 notice of the Settlement to the members of the Settlement Class; and (vi) setting a hearing date

 for the Final Approval Hearing.


 Dated: February 14, 2019                    Respectfully submitted,

                                             STECKLER GRESHAM COCHRAN PLLC

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                                             Settlement Class




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 26
Case 4:18-cv-00730-ALM-KPJ Document 12 Filed 02/14/19 Page 27 of 27 PageID #: 78



                                CERTIFICATE OF SERVICE

        I, the undersigned, do hereby certify that on February 14, 2019, a copy of the foregoing
 document was filed electronically. Notice of this filing will be sent to counsel of record by
 operation of the Court’s electronic filing system.


                                            /s/ Bruce W. Steckler
                                            Bruce W. Steckler




 PLAINTIFF’S UNOPPOSED MOTION FOR PRELIMINARY APPROVAL OF CLASS ACTION
 SETTLEMENT AND INCORPORATED MEMORANDUM IN SUPPORT - Page 27
